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 8                            UNITED STATES DISTRICT COURT
 9          CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
10

11   SECURITIES AND EXCHANGE                   )
                                               )
     COMMISSION,                               )     Case No.: SACV 18-00813-CJC(KESx)
12
                                               )
13                                             )
                 Plaintiff,                    )
14                                             )
           v.                                  )     JUDGMENT AS TO DEFENDANT
15                                             )     PREMIER HOLDING
                                               )     CORPORATION
     PREMIER HOLDING                           )
16
     CORPORATION, RANDALL                      )
17   LETCAVAGE, and JOSEPH                     )
                                               )
     GREENBLATT,                               )
18
                                               )
19                                             )
                 Defendants.                   )
20                                             )
                                               )
21                                             )
22

23         This matter came before the Court on the SEC’s motions for summary judgment
24   and for relief against Defendant Premier Holding Corporation (“Premier” or
25   “Defendant”). (Dkts. 192, 213.) On November 30, 2020, the Court granted the SEC’s
26   motion for summary judgment. (Dkt. 208.) On January 20, 2021, the Court granted the
27   SEC’s motion for relief.
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 1                                                I.
 2

 3         In accordance with the Court’s Orders, IT IS HEREBY ORDERED,
 4   ADJUDGED, AND DECREED that Defendant is permanently restrained and enjoined
 5   from violating, directly or indirectly, Section 10(b) of the Exchange Act [15 U.S.C.
 6   § 78j(b)] and Rule 10b-5 promulgated thereunder [17 C.F.R. § 240.10b-5], by using any
 7   means or instrumentality of interstate commerce, or of the mails, or of any facility of any
 8   national securities exchange, in connection with the purchase or sale of any security:
 9

10         (a) to employ any device, scheme, or artifice to defraud;
11         (b) to make any untrue statement of a material fact or to omit to state a material
12         fact necessary in order to make the statements made, in the light of the
13         circumstances under which they were made, not misleading; or
14         (c) to engage in any act, practice, or course of business which operates or would
15         operate as a fraud or deceit upon any person.
16

17         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided
18   in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the
19   following who receive actual notice of this Final Judgment by personal service or
20   otherwise: (a) Defendant’s officers, agents, servants, employees, and attorneys; and
21   (b) other persons in active concert or participation with Defendant or with anyone
22   described in (a).
23

24

25   //
26

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 1                                                II.
 2

 3         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is
 4   permanently restrained and enjoined from violating Section 17(a) of the Securities Act
 5   [15 U.S.C. § 77q(a)] in the offer or sale of any security by the use of any means or
 6   instruments of transportation or communication in interstate commerce or by use of the
 7   mails, directly or indirectly:
 8

 9         (a) to employ any device, scheme, or artifice to defraud;
10         (b) to obtain money or property by means of any untrue statement of a material fact
11         or any omission of a material fact necessary in order to make the statements made,
12         in light of the circumstances under which they were made, not misleading; or
13         (c) to engage in any transaction, practice, or course of business which operates or
14         would operate as a fraud or deceit upon the purchaser.
15

16         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided
17   in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the
18   following who receive actual notice of this Judgment by personal service or otherwise:
19   (a) Defendant’s officers, agents, servants, employees, and attorneys; and (b) other
20   persons in active concert or participation with Defendant or with anyone described in (a).
21

22                                                III.
23

24         IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that
25   Defendant is permanently restrained and enjoined from violating Section 13(a) of the
26   Exchange Act [15 U.S.C. § 78m(a)] and Rules 13a-1, 13a-11, and 13a-13 thereunder
27   [17 C.F.R.§§ 240.13 a-1, 240.13a-11, and 240.13a-13] by knowingly or recklessly
28   providing substantial assistance to an issuer, which has a class of securities registered

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 1   pursuant to Section 12 of the Exchange Act [15 U.S.C. § 781] or is required to file reports
 2   pursuant to Section 15(d) of the Exchange Act [15 U.S.C. 78o(d)], in connection with the
 3   filing of an annual report on Form 10-K, a current report on Form 8-K, or a quarterly
 4   report on Form 10-Q that is inaccurate or fails to contain material information necessary
 5   to make required statements, in light of the circumstances under which they are made, not
 6   misleading.
 7

 8         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided
 9   in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the
10   following who receive actual notice of this Judgment by personal service or otherwise:
11   (a) Defendant’s officers, agents, servants, employees, and attorneys; and (b) other
12   persons in active concert or participation with Defendant or with anyone described in (a).
13

14                                               IV.
15

16         IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that
17   Defendant is permanently restrained and enjoined from violating Sections 13(b)(2)(A)
18   and 13(b)(2)(B) of the Exchange Act [15 U.S.C. §§ 78m(b)(2)(A) and 78m(b)(2)(B)], by
19   knowingly providing substantial assistance to an issuer that:
20

21         (a) fails to make and keep books, records and accounts, which, in reasonable detail,
22         accurately and fairly reflect the transactions and dispositions of the assets of an
23         issuer; or
24         (b) fails to devise and maintain a system of internal accounting controls sufficient
25         to provide reasonable assurances that-
26                 (1) transactions are executed in accordance with management’s general or
27                 specific authorization;
28


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 1                (2) transactions are recorded as necessary to permit preparation of financial
 2                statements in conformity with generally accepted accounting principles, or
 3                any other criteria applicable to such statements, and to maintain
 4                accountability for assets;
 5                (3) access to assets is permitted only in accordance with management’s
 6                general or specific authorization; and
 7         (c) the recorded accountability for assets is compared with the existing assets at
 8         reasonable intervals and appropriate action is taken with respect any differences.
 9

10         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided
11   in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the
12   following who receive actual notice of this Judgment by personal service or otherwise:
13   (a) Defendant’s officers, agents, servants, employees, and attorneys; and (b) other
14   persons in active concert or participation with Defendant or with anyone described in (a).
15

16                                               V.
17

18         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant
19   is liable for disgorgement of $6,880,111, jointly and severally with Defendant Letcavage,
20   representing profits gained as a result of the conduct alleged in the Complaint, together
21   with prejudgment interest thereon in the amount of $1,811,389.41, totaling $8,691,500.41
22   Defendant shall satisfy this obligation by paying $8,691,500.41 to the Securities and
23   Exchange Commission within 14 days after the entry of this Final Judgment.
24

25         Defendant may transmit payment electronically to the Commission, which will
26   provide detailed ACH transfer/Fedwire instructions upon request. Payment may also be
27   made directly from a bank account via Pay.gov through the SEC website at
28   http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by certified check,

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 1   bank cashier’s check, or United States postal money order payable to the Securities and
 2   Exchange Commission, which shall be delivered or mailed to:
 3

 4
           Enterprise Services Center
           Accounts Receivable Branch
 5         6500 South MacArthur Boulevard
 6
           Oklahoma City, OK 73169

 7
     and shall be accompanied by a letter identifying the case title, civil action number, and
 8
     name of this Court; Premier as a defendant in this action; and specifying that payment is
 9
     made pursuant to this Final Judgment.
10

11
           Defendant shall simultaneously transmit photocopies of evidence of payment and
12
     case identifying information to the Commission’s counsel in this action. By making this
13
     payment, Defendant relinquishes all legal and equitable right, title, and interest in such
14
     funds and no part of the funds shall be returned to Defendant. The Commission shall
15
     send the funds paid pursuant to this Final Judgment to the United States Treasury.
16

17
           The Commission may enforce the Court’s judgment for disgorgement and
18
     prejudgment interest by moving for civil contempt (and/or through other collection
19
     procedures authorized by law) at any time after 30 days following entry of this Final
20
     Judgment. Defendant shall pay post judgment interest on any delinquent amounts
21
     pursuant to 28 U.S.C. § 1961.
22

23
                                                 VI.
24

25
           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant
26
     shall pay a civil penalty in the amount of $1,000,000 to the Securities and Exchange
27
     Commission pursuant to Section 20(d) of the Securities Act [15 U.S.C. § 77t(d)] and
28
     Section 21(d)(3) of the Exchange Act [15 U.S.C. § 78u(d)(3)].
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 1         Defendant shall satisfy the obligation to pay a civil penalty ordered pursuant to this
 2   paragraph by paying the amount ordered to the Securities and Exchange Commission
 3   within 14 days after entry of this Final Judgment. Defendant may transmit payment
 4   electronically to the Commission, which will provide detailed ACH transfer/Fedwire
 5   instructions upon request. Payment may also be made directly from a bank account via
 6   Pay.gov through the SEC website at http://www.sec.gov/about/offices/ofm.htm.
 7   Defendant may also pay by certified check, bank cashier’s check, or United States postal
 8   money order payable to the Securities and Exchange Commission, which shall be
 9   delivered or mailed to:
10

11
           Enterprise Services Center
           Accounts Receivable Branch
12         6500 South MacArthur Boulevard
13
           Oklahoma City, OK 73169

14
     and shall be accompanied by a letter identifying the case title, civil action number, and
15
     name of this Court; Premier as a defendant in this action; and specifying that payment is
16
     made pursuant to this Final Judgment.
17

18
           Defendant shall simultaneously transmit photocopies of evidence of payment and
19
     case identifying information to the Commission’s counsel in this action. By making this
20
     payment, Defendant relinquishes all legal and equitable right, title, and interest in such
21
     funds and no part of the funds shall be returned to Defendant. The Commission shall send
22
     the funds paid pursuant to this Final Judgment to the United States Treasury.
23

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 1                                                VII.
 2

 3         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court
 4   shall retain jurisdiction of this matter for the purposes of enforcing the terms of this
 5   Judgment.
 6

 7     DATED: January 20, 2021
 8

 9
                                                 HON. CORMAC J. CARNEY
10

11                                           UNITED STATES DISTRICT JUDGE
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